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20                               UNITED STATES DISTRICT COURT
21                             SOUTHERN DISTRICT OF CALIFORNIA
22   QUALCOMM INCORPORATED,                    Case No. '17CV2398 LAB MDD
23                      Plaintiff,             COMPLAINT FOR PATENT
24           v.                                INFRINGEMENT

25   APPLE INCORPORATED,                       [DEMAND FOR A JURY
                                               TRIAL]
26
                        Defendant.
27

28
     NAI-1503225050v2                           1
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 1          Plaintiff Qualcomm Incorporated (“Qualcomm”), by its undersigned
 2 attorneys, alleges, with knowledge with respect to its own acts and on information

 3 and belief as to other matters, as follows:

 4                                     NATURE OF THE ACTION
 5          1.          Qualcomm brings this action to compel Apple to cease infringing
 6 Qualcomm’s patents and to compensate Qualcomm for Apple’s extensive

 7 infringement of several patented Qualcomm technologies.

 8          2.          Qualcomm is one of the world’s leading technology companies and a
 9 pioneer in the mobile phone industry. Its inventions form the very core of modern

10 mobile communication and enable modern consumer experiences on mobile devices

11 and cellular networks.

12          3.          Since its founding in 1985, Qualcomm has been designing, developing,
13 and improving mobile communication devices, systems, networks, and products. It

14 has invented technologies that transform how the world communicates. Qualcomm

15 developed fundamental technologies at the heart of 2G, 3G, and 4G cellular

16 communications, is one of a handful of companies leading the development of the

17 next-generation 5G standard, and has developed numerous innovative features used

18 in virtually every modern cell phone.
19          4.          Qualcomm also invests in technologies developed by other companies
20 and has acquired companies (and their patented innovative technologies) as part of

21 its emphasis on supporting innovation. Qualcomm’s patent portfolio currently

22 includes more than 130,000 issued patents and patent applications worldwide.

23 Hundreds of mobile device suppliers around the world have taken licenses from

24 Qualcomm.

25          5.          Apple is the world’s most profitable seller of mobile devices. Its
26 iPhones and other products enjoy enormous commercial success. But without the

27 innovative technology covered by Qualcomm’s patent portfolio, Apple’s products

28 would lose much of their consumer appeal. Apple was a relatively late entrant in the
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 1 mobile device industry, and its mobile devices rely heavily on the inventions of

 2 Qualcomm and other companies that Qualcomm has invested in. Nearly a decade

 3 before Apple released the iPhone, Qualcomm unveiled its own full-feature, top-of-

 4 the-line smartphone. According to CNN’s 1999 holiday buying guide, Qualcomm’s

 5 pdQ 1900 “lets you make calls, keep records, send email, browse the web and run

 6 over a thousand different applications, all while on the go. Although a cell phone, it

 7 is one of the first truly portable, mobile and multipurpose Internet devices.” 1 While

 8 Qualcomm no longer markets phones directly to consumers, it continues to lead the

 9 development of cutting-edge technologies that underpin a wide range of important

10 wireless-device features. Other companies, like Apple, now manufacture and

11 market phones that feature Qualcomm’s innovations and the innovations of other

12 technology pioneers that Qualcomm invested in.

13              6.          Qualcomm’s innovations in the mobile space have influenced all
14 modern smartphones, and Apple—like other major mobile device makers—utilizes

15 Qualcomm’s technologies. Qualcomm’s patented features enable and enhance

16 popular features that drive consumer demand, for example: power-efficient radio

17 frequency (RF) transceiver technologies that support enhanced carrier aggregation,

18 improve battery life, and reduce signal interference; innovative designs for
19 components of processors and memory arrays that decrease power consumption and

20 improve device performance; and advanced image processing techniques that allow

21 users to recreate photographic effects that typically require bulky and expensive

22 camera equipment , among many others.

23              7.          In short, Qualcomm invented many core technologies that make the
24 iPhone (and other smartphones and mobile devices) desirable to consumers in their

25 daily lives.

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           http://edition.cnn.com/1999/TECH/ptech/12/03/qualcomm.pdq/.
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 1              8.          While Apple built the most successful consumer products in history by
 2 relying significantly on technologies pioneered by Qualcomm, Apple refuses to pay

 3 for those technologies. Apple’s founder boasted that Apple “steals” the great ideas

 4 of others—specifically, that “we have always been shameless about stealing great

 5 ideas.” 2 Apple employees likewise admit that Apple—a relatively late entrant in the

 6 mobile space—did not invent many of the iPhone’s features. Instead, Apple

 7 incorporated, marketed, and commercialized the work of others: “I don’t know how

 8 many things we can come up with that you could legitimately claim we did first. . . .

 9 We had the first commercially successful version of many features but that’s

10 different than launching something to market first.” 3

11              9.          Rather than pay Qualcomm for the technology Apple uses, Apple has
12 taken extraordinary measures to avoid paying Qualcomm for the fair value of

13 Qualcomm’s patents. On January 20, 2017, Apple sued Qualcomm in this district,

14 asserting an array of excuses to avoid paying fair-market, industry-standard rates for

15 the use of certain of Qualcomm’s pioneering patents that are critical to a modern

16 smartphone like the iPhone. See Case No. 3:17-cv-00108-GPC-MDD. Apple also

17 encouraged the companies that manufacture the iPhone to breach their contracts

18 with Qualcomm by refusing to pay for the Qualcomm technology in iPhones,
19 something that those manufacturers had done for many years, without complaint,

20 before Apple’s direction to stop. Further, Apple misled governmental agencies

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23   2
      Interview with Steve Jobs, available at
24 https://www.youtube.com/watch?v=CW0DUg63lqU (“Picasso had a saying, ‘good
   artists copy, great artists steal.’ And we have always been shameless about stealing
25 great ideas.”).

26   April 2010 email from Apple’s iPhone Product Marketing Manager, Steve
     3

27 Sinclair, reported in: Rick Merritt, Schiller ‘shocked at ‘copycat’ Samsung phone,
   Embedded (Aug. 3, 2012), http://www.embedded.com/print/4391702 (April 21,
28 2017 snapshot of page, accessed via Google’s cache).
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 1 around the world into investigating Qualcomm in an effort to indirectly exert

 2 leverage over Qualcomm.

 3          10.         Many of Qualcomm’s patents are essential to certain cellular or other
 4 standards (“Standard Essential Patents”), such that the use of an underlying

 5 technological standard would require use of the patent. Qualcomm also owns a

 6 wide range of non-standard-essential patents for inventions in various technologies

 7 related to mobile devices.

 8          11.         In this suit, Qualcomm asserts a set of non-standard-essential patents
 9 infringed by Apple’s mobile electronic devices. The patents asserted in this suit

10 represent only a small fraction of the Qualcomm non-standard-essential patents that

11 Apple uses without a license.

12          12.         Qualcomm repeatedly offered to license its patents to Apple. But
13 Apple has repeatedly refused offers to license Qualcomm’s patents on reasonable

14 terms. Qualcomm therefore seeks to enforce its rights in the patents identified

15 below and to address and remedy Apple’s flagrant infringement of those patents.

16                                              PARTIES
17          13.         Qualcomm is a Delaware corporation with its principal place of
18 business at 5775 Morehouse Drive, San Diego, California. Since 1989, when
19 Qualcomm publicly introduced Code Division Multiple Access (“CDMA”) as a

20 commercially successful digital cellular communications standard, Qualcomm has

21 been recognized as an industry leader and innovator in the field of mobile devices

22 and cellular communications. Qualcomm owns more than 130,000 patents and

23 patent applications around the world relating to cellular technologies and many

24 other valuable technologies used by mobile devices. Qualcomm is a leader in the

25 development and commercialization of wireless technologies and the owner of the

26 world’s most significant portfolio of cellular technology patents. Qualcomm derives

27 a substantial portion of its revenues and profits from licensing its intellectual

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 1 property. Qualcomm is also a world leader in the sale of chips, chipsets, and

 2 associated software for mobile phones and other wireless devices.

 3          14.         Apple is a corporation organized and existing under the laws of the
 4 State of California, with its principal place of business at 1 Infinite Loop, Cupertino,

 5 California. Apple designs, manufactures, and sells throughout the world a wide

 6 range of products, including mobile devices that incorporate Qualcomm’s multi-

 7 touch-gesture, autofocus, multitasking-interface, quick-charging, and machine-

 8 learning patents.

 9                                   JURISDICTION AND VENUE
10          15.         This action arises under the patent laws of the United States of
11 America, 35 U.S.C. § 1 et seq. This Court has jurisdiction over the subject matter of

12 this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

13          16.         This Court has personal jurisdiction over Apple because it is organized
14 and exists under the laws of California.

15          17.         Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c)
16 and 28 U.S.C. § 1400(b). Venue is appropriate under 28 U.S.C. § 1400(b) at least

17 because Apple is incorporated in California and because Apple has committed acts

18 of infringement and has a regular and established place of business in this district.
19 Apple’s acts of infringement in this district include but are not limited to sales of the

20 Accused Products at Apple Store locations in this district, including but not limited

21 to 7007 Friars Road, San Diego, CA 92108 and 4505 La Jolla Village Drive, San

22 Diego, CA 92122.

23                                      STATEMENT OF FACTS
24                                       Qualcomm Background
25          18.         Qualcomm was founded in 1985 when seven industry visionaries came
26 together to discuss the idea of providing quality communications. For more than 30

27 years, Qualcomm has been in the business of researching, designing, developing,

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 1 and selling innovative semiconductor and cellular technology and products for the

 2 telecommunications and mobile technology industries.

 3          19.         When Qualcomm was founded, cellular phones were cumbersome,
 4 heavy, and expensive devices that supplied inconsistent voice communications—

 5 audio quality was poor, users sometimes heard portions of others’ calls, handoffs

 6 were noisy, and calls frequently dropped. Qualcomm played a central role in the

 7 revolutionary transformation of cellular communications technologies. Today,

 8 cellular devices are remarkably powerful and can deliver reliable voice service and

 9 lightning-fast data to billions of consumers around the world at affordable prices.

10          20.         Qualcomm is now one of the largest technology, semiconductor, and
11 telecommunications companies in the United States. It employs over 18,000 people

12 in the United States, 68 percent of whom are engineers, and it occupies more than

13 92 buildings (totaling over 6.5 million sq. ft.) in seventeen states and the District of

14 Columbia.

15          21.         Qualcomm’s industry-leading research and development efforts,
16 focused on enabling cellular systems and products, are at the core of Qualcomm’s

17 business. Since its founding, Qualcomm has invested tens of billions of dollars in

18 research and development related to cellular, wireless communications, and mobile
19 processor technology. Qualcomm’s massive research and development investments

20 have produced numerous innovations. Because of this ongoing investment,

21 Qualcomm continues to drive the development and commercialization of successive

22 generations of mobile technology and is one of a handful of companies leading the

23 development of the next-generation 5G standard.

24          22.         In addition to Qualcomm’s investments in research and development
25 internally, Qualcomm has a rich history of investing in and acquiring technologies

26 developed by other industry leaders. By purchasing companies and patents from

27 companies who desire to sell their innovations, Qualcomm fosters innovation by

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 1 enabling those companies to realize a return on their research and development

 2 investments and, therefore, incentivizes additional research and development.

 3          23.         As a result of the strength and value of Qualcomm’s patent portfolio,
 4 virtually every major handset manufacturer in the world has taken a royalty-bearing

 5 license to Qualcomm’s patent portfolio. The licenses to Qualcomm’s patents allow

 6 manufacturers to use numerous forms of critical and innovative Qualcomm

 7 technology without having to bear the multi-billion dollar, multi-year costs of

 8 developing those innovations themselves.

 9                                         Apple Background
10          24.         Apple has built the most profitable company in the world, thanks in
11 large part to products that rely on Qualcomm’s patented technologies. With a

12 market capitalization of more than $700 billion, $246 billion in cash reserves, and a

13 global sphere of influence, Apple has more money and more influence than many

14 countries. Relying heavily on Qualcomm technology and technology Qualcomm

15 has acquired, Apple has become the dominant player in mobile device sales.

16 Apple’s dominance has grown every year since the iPhone’s launch in 2007. In

17 recent years, Apple has captured upwards of 90 percent of all profits in the

18 smartphone industry.
19                               Qualcomm’s Technology Leadership
20          25.         The asserted patents reflect the breadth of Qualcomm’s dedication and
21 investment in research and development relating to wireless technology and mobile

22 electronic devices. Qualcomm invented numerous proprietary solutions that are

23 used to optimize products around the globe. Many of these inventions are reflected

24 in Qualcomm’s non-standard-essential patents, such as the patents asserted in this

25 case.

26          26.         As mobile electronic devices have become more powerful with greater
27 functionality, device manufacturers have faced numerous problems with power

28 consumption, signal interference, and the performance and efficiency of processors
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 1 and memory arrays, among others. Device manufacturers have also sought to

 2 provide more advanced features to users, particularly with regard to photography

 3 and image processing.

 4          27.         The asserted patents disclose and claim Qualcomm technologies that
 5 address many of these needs, including RF transceiver technologies that reduce

 6 power consumption and signal interference, power-efficient and high-performance

 7 architectures for processor and memory components, and advanced image

 8 processing techniques to recreate the popular “bokeh” photographic effect using a

 9 dual-camera mobile electronic device.

10          28.         For example, Apple has touted the capability of its newest mobile
11 electronic devices to support “carrier aggregation” technology. This means that a

12 mobile device can receive portions of a single input on multiple carriers at the same

13 time to increase the bandwidth of a user. Qualcomm has pioneered and patented

14 technologies that allow mobile electronic devices to support carrier aggregation

15 while maintaining high power efficiency. These include the ’356 patent, which

16 relates to the use of low noise amplifiers (LNAs) to flexibly receive and amplify RF

17 signals. As a result of the invention of the ’356 patent, mobile devices can consume

18 less power and significantly reduce the number of receiver input signal paths for a
19 RF transceiver when deploying carrier aggregation technology.

20          29.         As another example, Qualcomm has pioneered techniques that allow
21 mobile electronic devices to support carrier aggregation technology while avoiding

22 signal interferences that can make it difficult or impossible to recover information

23 from a signal. The ’336 patent describes a technique of grouping and amplifying RF

24 signals in two stages that reduces signal interference without increasing the

25 complexity of signal routing pathways. As a result of the invention of the ’336

26 patent, RF transceivers in mobile devices can support carrier aggregation and

27 address signal interference without increasing routing complexity, which increases

28 cost and can negatively impact performance.
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   1          30.         Qualcomm has also invested substantially in developing innovative
   2 designs for mobile device processors and memory arrays that enhance device

   3 performance and lower power consumption. For example, the ’674 patent relates to

   4 an improved design for the power on / off control network (POC network)

   5 component of a device’s processor. The POC network communicates to

   6 input/output (I/O) circuits whether core devices are on or off, which is desirable in

   7 order to have I/O devices operate effectively. The ’674 patent describes a POC

   8 network design that reduces the leakage of electrical current while improving the

   9 system’s speed of detection of on / off states. The invention of the ’674 patent thus

  10 improves processor performance while reducing power consumption and improving

  11 battery life for the device. As another example, in the ’002 patent Qualcomm

  12 disclosed an improved memory array design that reduces the power consumption

  13 due to generating clock signals. As a result of the invention of the ’002 patent,

  14 mobile devices can operate with lower power consumption and higher speed, which

  15 improves the devices’ battery life and efficiency.

  16          31.         As a final example, Qualcomm’s innovations have enabled advanced
  17 mobile device features that generate high demand among users, including in the

  18 areas of photography and image processing. For instance, the ’633 patent relates to
  19 depth-based image enhancement, and specifically the use of depth computed from

  20 two spatially offset images to enhance regions of a monocular image. Mobile

  21 devices with dual cameras, including certain Apple devices, use this invention to

  22 perform high quality simulations of photographic effects (such as the so-called

  23 “bokeh” effect) that can otherwise be generated only with bulky and expensive

  24 camera equipment. In fact, Apple’s Senior Vice President of Worldwide Marketing

  25 described the iPhone 7 Plus’s ability to “create a depth map of [an] image from [its]

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   1 two cameras . . . and apply a beautiful blur to the background” as “a huge

   2 breakthrough in what can be done in a smartphone in photography.” 4

   3                                            The Accused Devices
   4              32.         As set forth below, a variety of Apple’s devices—including certain of
   5 Apple’s iPhones—practice one or more of the Patents-in-Suit.

   6                                             The Patents-in-Suit
   7              33.         The following patents are infringed by Apple (“Patents-in-Suit”): U.S.
   8 Patent No. 9,154,356 (“the ’356 patent”), U.S. Patent No. 9,473,336 (“the ’336

   9 patent”), U.S. Patent No. 8,063,674 (“the ’674 patent”), U.S. Patent 7,693,002 (“the

  10 ’002 patent”), and U.S. Patent No. 9,552,633 (“the ’633 patent”).

  11              34.         As described below, Apple has been and is still infringing, contributing
  12 to infringement, and/or inducing others to infringe the Patents-in-Suit by making,

  13 using, offering for sale, selling, or importing devices that practice the Patents-in-

  14 Suit. Apple’s acts of infringement have occurred within this District and elsewhere

  15 throughout the United States.

  16                                          U.S. Patent No. 9,154,356
  17              35.         The ’356 patent was duly and legally issued on October 6, 2015 to
  18 Qualcomm, which is the owner of the ’356 patent and has the full and exclusive
  19 right to bring actions and recover damages for Apple’s infringement of the ’356

  20 patent. The ’356 patent is valid and enforceable. A copy of the ’356 patent is

  21 attached hereto as Exhibit A.

  22              36.         The ’356 patent relates generally to RF transceivers using low noise
  23 amplifiers (LNAs) to support carrier aggregation. The ’356 patent discloses a multi-

  24 stage LNA circuit topology, where each amplifier stage can be independently

  25 controlled to receive and amplify a common input RF signal and provide an output

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             https://singjupost.com/apple-iphone-7-keynote-september-2016-launch-event-
  28 full-transcript/8/
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   1 RF signal to a separate load circuit. The topology flexibly supports multiple I/Q

   2 mixer/downconverter loads for a corresponding number of component carriers at

   3 different frequencies. As a result of the invention of the ’356 patent, mobile devices

   4 can more efficiently deploy carrier aggregation technology and have longer battery

   5 life.

   6                                      U.S. Patent No. 9,473,336
   7          37.         The ’336 patent was duly and legally issued on October 18, 2016 to
   8 Qualcomm, which is the owner of the ’336 patent and has the full and exclusive

   9 right to bring action and recover damages for Apple’s infringement of the ’336

  10 patent. The ’336 patent is valid and enforceable. A copy of the ’336 patent is

  11 attached hereto as Exhibit B.

  12          38.         The ’336 patent relates generally to RF transceivers for use with carrier
  13 aggregation technology. With the advent of carrier aggregation technology, RF

  14 transceivers in mobile devices must be designed to handle an increasing number of

  15 different frequencies in multiple communication bands. In many cases, receivers

  16 include multiple signal paths, which must be subject to stringent isolation

  17 requirements to prevent signal interference, which can make recovering information

  18 from a signal difficult or impossible. The ’336 patent discloses a two-stage
  19 amplification of RF signals, where carrier signals are grouped into carrier groups

  20 including a respective portion of the carrier signals in a first stage amplifier module

  21 and provided to second stage amplifiers. The first stage amplifier includes multiple

  22 low noise amplifiers (LNAs) that generate amplified outputs each having a portion

  23 of the carrier signals and a routing module that provides the amplified outputs to

  24 different output ports. Second stage amplifiers then amplify the carrier groups to

  25 generate second stage output signals that may be output to different demodulation

  26 stages that demodulate a selected carrier signal. Without the invention of the ’336

  27 patent, RF transceivers would not be able to address issues of interference without

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   1 increasing the routing complexity of the design, which increases cost and can impact

   2 performance.

   3                                     U.S. Patent No. 8,063,674
   4          39.         The ’674 patent was duly and legally issued on November 22, 2011 to
   5 Qualcomm, which is the owner of the ’674 patent and has the full and exclusive

   6 right to bring action and recover damages for Apple’s infringement of the ’674

   7 patent. The ’674 patent is valid and enforceable. A copy of the ’674 patent is

   8 attached hereto as Exhibit C.

   9          40.         The ’674 patent relates generally to an improved power up / power
  10 down detector for computing devices with integrated circuits requiring multiple

  11 voltages. The power on / power off control (POC network) of a device is a

  12 component of a processor that communicates to input/output (I/O) circuits whether

  13 core devices are on or off, which is desirable in order to have I/O devices operate

  14 effectively. The ’674 patent describes an improved design for a POC network

  15 architecture that uses power up / down detectors to detect the on / off state of the

  16 core devices on the POC network, processing circuitry to generate signals depending

  17 on their power state, and feedback circuits to adjust electrical current capacity in the

  18 POC network in order to reduce the leakage of that current while improving the
  19 speed with which the system detects the on/off state of the core devices. The

  20 invention of the ’674 patent thereby improves the performance of the POC network

  21 and processor while also reducing power consumption and improving the battery

  22 life of the computing device.

  23                                     U.S. Patent No. 7,693,002
  24          41.         The ’002 patent was duly and legally issued on April 6, 2010 to
  25 Qualcomm, which is the owner of the ’002 patent and has the full and exclusive

  26 right to bring action and recover damages for Apple’s infringement of the ’002

  27 patent. The ’002 patent is valid and enforceable. A copy of the ’002 patent is

  28 attached hereto as Exhibit D.
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   1          42.         The ’002 patent relates generally to an improved memory array design
   2 that saves power. Specifically, the ’002 patent discloses improved designs for

   3 wordline drivers, which are components connected to memory arrays. The design

   4 allows for the selective application of clock signals to activate groups of wordline

   5 drivers, which reduces the power consumption due to generating clock signals

   6 relative to previous designs. As a result of the invention of the ’002 patent,

   7 computing devices can operate with lower power consumption and higher speed,

   8 which in turn prolongs the battery life and efficiency of those devices.

   9                                     U.S. Patent No. 9,552,633
  10          43.         The ’633 patent was duly and legally issued on January 24, 2017 to
  11 Qualcomm, which is the owner of the ’633 patent and has the full and exclusive

  12 right to bring action and recover damages for Apple’s infringement of the ’633

  13 patent. The ’633 patent is valid and enforceable. A copy of the ’633 patent is

  14 attached hereto as Exhibit E.

  15          44.         The ’633 patent relates generally to depth-based image enhancement,
  16 and specifically the use of depth computed from multiple images. The ’633 patent

  17 discloses using two images to generate a depth map and enhance a portion of the

  18 scene. As a result of the invention of the ’633 patent, mobile device cameras are
  19 now able to perform a high quality simulation of the “bokeh effect,” a popular

  20 artistic photography effect that emphasizes a portion of the scene, giving a 3D effect

  21 to the photograph without the use of bulky and expensive high-end cameras and

  22 lenses.

  23        COUNT 1 (PATENT INFRINGEMENT – U.S. PATENT NO. 9,154,356)
  24          45.         Qualcomm repeats and re-alleges the allegations of paragraphs 1
  25 through 44 above as if fully set forth herein.

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   1          46.         Qualcomm is the lawful owner of the ’356 patent and has the full and
   2 exclusive right to bring actions and recover damages for Apple’s infringement of

   3 said patent.

   4          47.         In violation of 35 U.S.C. § 271, Apple has been and is still infringing,
   5 contributing to infringement, and/or inducing others to infringe the ’356 patent by

   6 making, using, offering for sale, selling, or importing mobile devices that practice

   7 the patent, including but not limited to the Apple iPhone 7, Apple iPhone 7 Plus, and

   8 on information and belief, Apple iPhone 8, Apple iPhone 8 Plus, and Apple iPhone

   9 X.

  10          48.         Each of the Apple iPhone 7 and Apple iPhone 7 Plus, and on
  11 information and belief, Apple iPhone 8, Apple iPhone 8 Plus, and Apple iPhone X is

  12 equipped with RF transceivers that contain multi-stage low noise amplifiers (LNAs)

  13 with at least a first amplifier stage and a second amplifier stage, each of which is

  14 configured to be independently enabled or disabled, to receive and amplify an input

  15 RF signal in carrier aggregation, and to provide an output RF signal, where the

  16 output signals of the different amplifier stages include distinct carriers.

  17          49.         The accused devices infringe at least claims 1, 7, 8, 10, 11, 17, and 18
  18 of the ’356 patent.
  19          50.         The accused devices infringe claims 1 and 17 of the ’356 patent as
  20 follows. Each of the Apple iPhone 7 and Apple iPhone 7 Plus is an apparatus that

  21 contains two multimode RF transceivers, such as, for example, Intel PMB5750

  22 Multimode RF Transceivers (the “iPhone 7 transceivers”). Each iPhone 7

  23 transceiver includes a first amplifier stage with circuitry that allows the first

  24 amplifier stage to be independently enabled or disabled. The first amplifier stage

  25 receives and amplifies an input RF signal and provides an output RF signal to a load

  26 circuit comprising an I/Q mixer core. Each iPhone 7 transceiver also includes a

  27 second amplifier stage with separate enable circuitry, which receives and amplifies

  28 the input RF signal and provides a second output RF signal to a second load circuit
       NAI-1503225050v2                            15
                                   COMPLAINT FOR PATENT INFRINGEMENT
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   1 comprising an I/Q mixer core. As the Apple iPhone 7 and Apple iPhone 7 Plus each

   2 supports LTE downlink carrier aggregation across many operating bands and

   3 carriers, the input RF signal employs carrier aggregation comprising transmissions

   4 sent on multiple carriers at different frequencies. The first output RF signal

   5 provided by the first amplifier stage includes at least a first carrier of the multiple

   6 carriers, and the second output RF signal provided by the second amplifier stage

   7 includes at least a second carrier of the multiple carriers that is different from the

   8 first carrier. On information and belief, the Apple iPhone 8, Apple iPhone 8 Plus,

   9 and Apple iPhone X each includes an infringing amplifier design. Thus, the accused

  10 devices infringe claims 1 and 17 of the ’356 patent.

  11          51.         With respect to claims 7 and 8, each iPhone 7 transceiver further
  12 contains a feedback circuit including a resistor and a capacitive network that is

  13 coupled between the output and input of the first amplifier stage, as well as a second

  14 feedback circuit including a resistor and a capacitive network that is coupled

  15 between the output and input of the second amplifier stage. On information and

  16 belief, the Apple iPhone 8, Apple iPhone 8 Plus, and Apple iPhone X each includes

  17 an infringing amplifier design. Thus, the accused devices infringe claims 7 and 8 of

  18 the ’356 patent.
  19          52.         With respect to claim 10, each iPhone 7 transceiver further contains an
  20 input shunt switch with a large shunt resistor that is coupled to the first and second

  21 amplifier stages and configured to receive the input RF signal. On information and

  22 belief, the Apple iPhone 8, Apple iPhone 8 Plus, and Apple iPhone X each includes

  23 an infringing amplifier design. Thus, the accused devices infringe claim 10 of the

  24 ’356 patent.

  25          53.         With respect to claim 11, each iPhone 7 transceiver further includes an
  26 input matching circuit coupled to the first and second amplifier stages and

  27 configured to receive a receiver input signal and provide the input RF signal. Each

  28 of the first and second amplifier stages in the iPhone 7 transceiver has a common
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                                  COMPLAINT FOR PATENT INFRINGEMENT
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   1 receiver input signal coupled to an input matching circuit with both a series inductor

   2 and shunt inductor to ground potential on the main circuit board adjacent to the

   3 corresponding transceiver input. On information and belief, the Apple iPhone 8,

   4 Apple iPhone 8 Plus, and Apple iPhone X each includes an infringing amplifier

   5 design. Thus, the accused devices infringe claim 11 of the ’356 patent.

   6          54.         With respect to claim 18, the first amplifier stage of each iPhone 7
   7 transceiver can be enabled with an enable signal to obtain the first output RF signal,

   8 and the second amplifier stage can be enabled with a second enable signal to obtain

   9 the second output RF signal. As the amplifier stages can be independently enabled

  10 or disabled, the first amplifier stage can also be enabled with the first enable signal

  11 while the second amplifier stage is not enabled in order to obtain the first output RF

  12 signal but not the second output RF signal. On information and belief, the Apple

  13 iPhone 8, Apple iPhone 8 Plus, and Apple iPhone X each performs the infringing

  14 method. Thus, the accused devices infringe claim 18 of the ’356 patent.

  15          55.         On information and belief, Apple is currently, and unless enjoined, will
  16 continue to, actively induce and encourage infringement of at least claims 17 and 18

  17 of the ’356 patent. Apple has known of the ’356 patent at least since the time this

  18 complaint was filed and served on Apple. On information and belief, Apple
  19 nevertheless actively encourages others to infringe the ’356 patent. On information

  20 and belief, Apple knowingly induces infringement by others, including resellers,

  21 retailers, and end users of the accused devices. For example, Apple knows of the

  22 ’356 patent and the aspects of the accused devices that constitute infringement of

  23 such patent, yet Apple instructs and assists others, such as resellers, retailers, and

  24 end users, in carrying out such infringement. Further, Apple possesses a specific

  25 intent to cause others, including resellers, retailers, and end users, to infringe the

  26 ’356 patent. For example, Apple affirmatively intended to cause others to directly

  27 infringe the ’356 patent through its instructions contained in its user manuals and

  28 marketing materials. These facts give rise to a reasonable inference that Apple
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   1 knowingly induces others, including resellers, retailers, and end users, to directly

   2 infringe the ’356 patent, and that Apple possesses a specific intent to cause such

   3 infringement.

   4          56.         Apple also contributes to infringement of the ’356 patent by selling for
   5 importation into the United States, importing into the United States, and/or selling

   6 within the United States after importation the accused devices and the non-staple

   7 constituent parts of those devices, which are not suitable for substantial non-

   8 infringing use and which embody a material part of the invention described in the

   9 ’356 patent. These mobile electronic devices are known by Apple to be especially

  10 made or especially adapted for use in the infringement of the ’356 patent. Apple

  11 also contributes to the infringement of the ’356 patent by selling for importation into

  12 the United States, importing into the United States, and/or selling within the United

  13 States after importation components, such as the chipsets or software containing the

  14 infringing functionality, of the accused devices, which are not suitable for

  15 substantial non-infringing use and which embody a material part of the invention

  16 described in the ’356 patent. These mobile devices are known by Apple to be

  17 especially made or especially adapted for use in the infringement of the ’356 patent.

  18 Specifically, on information and belief, Apple sells the accused devices to resellers,
  19 retailers, and end users with knowledge that the devices are used for infringement.

  20 End users of those mobile electronic devices directly infringe the ’356 patent.

  21          57.         Apple’s acts of infringement have occurred within this District and
  22 elsewhere throughout the United States.

  23          58.         Qualcomm has been damaged and will suffer additional damages and
  24 irreparable harm unless Apple is enjoined from further infringement. Qualcomm

  25 will prove its irreparable harm and damages at trial.

  26          COUNT 2 (PATENT INFRINGEMENT – U.S. PATENT NO. 9,473,336)
  27          59.         Qualcomm repeats and re-alleges the allegations of paragraphs 1
  28 through 58 above as if fully set forth herein.
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                                  COMPLAINT FOR PATENT INFRINGEMENT
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   1          60.         Qualcomm is the lawful owner of the ’336 patent, and has the full and
   2 exclusive right to bring actions and recover damages for Apple’s infringement of

   3 said patent.

   4          61.         In violation of 35 U.S.C. § 271, Apple has been and is still infringing,
   5 contributing to infringement, and/or inducing others to infringe the ’336 patent by

   6 making, using, offering for sale, selling, or importing mobile devices that practice

   7 the patent, including but not limited to, the Apple iPhone 8, Apple iPhone 8 Plus,

   8 and on information and belief, Apple iPhone X.

   9          62.         Each of the Apple iPhone 8, Apple iPhone 8 Plus, and on information
  10 and belief, Apple iPhone X includes a first stage amplifier with multiple LNAs

  11 configured to amplify received carrier signals and generate amplified outputs each

  12 having a portion of the carrier signals. The first stage amplifier of the Apple iPhone

  13 8, Apple iPhone 8 Plus, and on information and belief, Apple iPhone X includes a

  14 routing module that provides the amplified outputs to different output ports. Each of

  15 the Apple iPhone 8, Apple iPhone 8 Plus, and on information and belief, Apple

  16 iPhone X further includes second stage amplifiers, each configured to amplify a

  17 respective first stage carrier group to generate second stage output signals that each

  18 may be output to a different demodulation stage.
  19          63.         The accused devices infringe at least claim 4 of the ’336 patent.
  20          64.         The accused devices infringe claim 4 of the ’336 patent as follows.
  21 Each of the Apple iPhone 8 and Apple iPhone 8 Plus includes a first stage amplifier

  22 configured to amplify received carrier signals to generate at least one first stage

  23 carrier group. On information and belief, the first stage amplifier includes a first

  24 low noise amplifier (LNA) configured to amplify the received carrier signals to

  25 generate a first amplified output and a second amplified output. On information and

  26 belief, the first amplified output has a first portion of the carrier signals and the

  27 second amplified output has a second portion of the carrier signals. On information

  28 and belief, the first stage amplifier further includes a second LNA configured to
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                                   COMPLAINT FOR PATENT INFRINGEMENT
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   1 amplify the received carrier signals to generate a third amplified output and a fourth

   2 amplified output. On information and belief, the third amplified output has the first

   3 portion of the carrier signals and the fourth amplified output has the second portion

   4 of the carrier signals. On information and belief, the first stage amplifier further

   5 includes a routing module configured to route one of the first, second, third, and

   6 fourth amplified outputs to a first output port and to route one of the first, second,

   7 third, and fourth amplified outputs to a second output port. Each of the Apple

   8 iPhone 8 and Apple iPhone 8 Plus further includes second stage amplifiers

   9 configured to amplify the at least one first stage carrier group, each second stage

  10 amplifier configured to amplify a respective first stage carrier group to generate

  11 second stage output signals. On information and belief, the Apple iPhone X

  12 includes an infringing amplifier design. Thus, the accused devices infringe claim 4

  13 of the ’336 patent.

  14          65.         Apple’s acts of infringement have occurred within this District and
  15 elsewhere throughout the United States.

  16          66.         Qualcomm has been damaged and will suffer additional damages and
  17 irreparable harm unless Apple is enjoined from further infringement. Qualcomm

  18 will prove its irreparable harm and damages at trial.
  19        COUNT 3 (PATENT INFRINGEMENT – U.S. PATENT NO. 8,063,674)
  20          67.         Qualcomm repeats and re-alleges the allegations of paragraphs 1
  21 through 66 above as if fully set forth herein.

  22          68.         Qualcomm is the lawful owner of the ’674 patent and has the full and
  23 exclusive right to bring actions and recover damages for Apple’s infringement of

  24 said patent.

  25          69.         In violation of 35 U.S.C. § 271, Apple has been and is still infringing,
  26 contributing to infringement, and/or inducing others to infringe the ’674 patent by

  27 making, using, offering for sale, selling, or importing devices that practice the

  28 patent, including but not limited to the Apple iPhone 7 and Apple iPhone 7 Plus.
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                                   COMPLAINT FOR PATENT INFRINGEMENT
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   1          70.         The accused devices include a multiple supply voltage device with a
   2 power-on-control (POC) network that includes a power up/down detector

   3 configured to detect a power state of the core network, processing circuitry coupled

   4 to the power up/down detector and configured to generate a control signal based on

   5 the power state, and at least one feedback circuit coupled to the power up/down

   6 detector and configured to provide feedback signals to adjust a current capacity of

   7 the power up/down detector.

   8          71.         The accused devices infringe at least claims 1, 5, 6, 7, 8, 12, 16, 17, 18,
   9 21, and 22 of the ’674 patent.

  10          72.         The accused devices infringe claim 1 of the ’674 patent as follows.
  11 Each of the Apple iPhone 7 and Apple iPhone 7 Plus includes the Apple A10

  12 processor, which includes a multiple supply voltage device. The A10 processor

  13 includes a core network at a first voltage and a control network coupled to the core

  14 network wherein the control network transmits a control signal. The control

  15 network of the A10 processor includes an up/down detector that detects a power

  16 state of the core network, processing circuitry coupled to the up/down detector that

  17 generates the control signal based on the power state of the core network, and at

  18 least one feedback circuit coupled to the up/down detector that provides feedback
  19 signals to adjust a current capacity of the up/down detector. The control network of

  20 the A10 processor further includes a first transistor coupled to a second supply

  21 voltage that switches on when the first supply voltage is powered down and

  22 switches off when the first supply voltage is powered on, a second transistor coupled

  23 in series with the first transistor that switches on when the first supply voltage is

  24 powered on and switches off when the first supply voltage is powered down, and a

  25 third transistor coupled in series between the first and second transistor. Thus, the

  26 accused devices infringe claim 1 of the ’674 patent.

  27          73.         With respect to claim 5, the multiple supply voltage device of each of
  28 the Apple iPhone 7 and Apple iPhone 7 Plus further includes an input/output (I/O)
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                                   COMPLAINT FOR PATENT INFRINGEMENT
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   1 network operative at a second supply voltage. The I/O network is coupled to the

   2 core network and control network and is configured to receive the control signal

   3 generated by the control network. Thus, the accused devices infringe claim 5 of the

   4 ’674 patent.

   5          74.         With respect to claim 12, on information and belief, the accused
   6 devices further detect a power-down of a second supply voltage by receiving a

   7 logic-low signal at a control gate of the first and second transistors, wherein the first

   8 transistor switches on and the second transistor switches off in response to the logic-

   9 low signal, and transmitting a detection signal to a signal processor from the first

  10 transistor based on the received logic-low signal. Thus, the accused devices infringe

  11 claim 12 of the ’674 patent.

  12          75.         With respect to claim 16, the accused devices apply the multiple supply
  13 voltage device in the Apple iPhone 7 and Apple iPhone 7 Plus, each of which is an

  14 electronic device that is at least a music player, video player, entertainment unit,

  15 navigation device, communications device, personal digital assistant (PDA), and/or

  16 a computer, and into which a semiconductor device is integrated. Thus, the accused

  17 devices infringe claim 16 of the ’674 patent.

  18          76.         With respect to claims 8 and 17, the accused devices include a system
  19 with means for reducing, and perform a method for reducing, power consumption in

  20 a power on/off control (POC) network of a multiple supply voltage device. As

  21 described for the multiple supply voltage device included in the Apple iPhone 7 and

  22 Apple iPhone 7 Plus, the control network in the A10 processor detects a power-on

  23 or power-down of a second supply voltage while a first supply voltage is already on

  24 and respectively decreases or increases a current capacity of a power on/off detector

  25 in response to the power-on or power-down detection. The control network receives

  26 a logic-high signal at a control gate of a first transistor that switches off in response,

  27 a second transistor that switches on in response, and a third transistor coupled in

  28 series between the first and second transistors. On information and belief, the
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                                  COMPLAINT FOR PATENT INFRINGEMENT
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   1 control network transmits a detection signal to a signal processor from the second

   2 transistor based on receiving the logic-high signal. Thus, the accused devices

   3 infringe claims 8 and 17 of the ’674 patent.

   4          77.         With respect to claim 18, on information and belief, the accused
   5 devices include a feedback circuit coupled to an up/down detector which provides a

   6 feedback signal associated with a detected power-on or power-down and uses that

   7 signal in adjusting a current capacity of the up/down detector. Thus, the accused

   8 devices infringe claim 18 of the ’674 patent.

   9          78.         With respect to claims 6 and 21, the multiple supply voltage device in
  10 each of the Apple iPhone 7 and Apple iPhone 7 Plus is further integrated into a

  11 semiconductor die. Thus, the accused devices infringe claims 6 and 21 of the ’674

  12 patent.

  13          79.         With respect to claims 7 and 22, the semiconductor die into which the
  14 multiple supply voltage device is integrated is further incorporated in the Apple

  15 iPhone 7 and Apple iPhone 7 Plus, each of which is at least a mobile phone,

  16 personal data assistant (PDA), navigation device, music player, video player,

  17 entertainment unit, and/or computer. Thus, the accused devices infringe claims 7

  18 and 22 of the ’674 patent.
  19          80.         On information and belief, Apple is currently, and unless enjoined, will
  20 continue to, actively induce and encourage infringement of at least claims 8, 12, and

  21 16 of the ’674 patent. Apple has known of the ’674 patent at least since the time

  22 this complaint was filed and served on Apple. On information and belief, Apple

  23 nevertheless actively encourages others to infringe the ’674 patent. On information

  24 and belief, Apple knowingly induces infringement by others, including resellers,

  25 retailers, and end users of the accused devices. For example, Apple knows of the

  26 ’674 patent and the aspects of the accused devices that constitute infringement of

  27 such patent, yet Apple instructs and assists others, such as resellers, retailers, and

  28 end users, in carrying out such infringement. Further, Apple possesses a specific
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                                  COMPLAINT FOR PATENT INFRINGEMENT
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   1 intent to cause others, including resellers, retailers, and end users, to infringe the

   2 ’674 patent. For example, Apple affirmatively intended to cause others to directly

   3 infringe the ’674 patent through its instructions contained in its user manuals and

   4 marketing materials. These facts give rise to a reasonable inference that Apple

   5 knowingly induces others, including resellers, retailers, and end users, to directly

   6 infringe the ’674 patent, and that Apple possesses a specific intent to cause such

   7 infringement.

   8          81.         Apple also contributes to infringement of the ’674 patent by selling for
   9 importation into the United States, importing into the United States, and/or selling

  10 within the United States after importation the accused devices and the non-staple

  11 constituent parts of those devices, which are not suitable for substantial non-

  12 infringing use and which embody a material part of the invention described in the

  13 ’674 patent. These mobile electronic devices are known by Apple to be especially

  14 made or especially adapted for use in the infringement of the ’674 patent. Apple

  15 also contributes to the infringement of the ’674 patent by selling for importation into

  16 the United States, importing into the United States, and/or selling within the United

  17 States after importation components, such as the chipsets or software containing the

  18 infringing functionality, of the accused devices, which are not suitable for
  19 substantial non-infringing use and which embody a material part of the invention

  20 described in the ’674 patent. These mobile devices are known by Apple to be

  21 especially made or especially adapted for use in the infringement of the ’674 patent.

  22 Specifically, on information and belief, Apple sells the accused devices to resellers,

  23 retailers, and end users with knowledge that the devices are used for infringement.

  24 End users of those mobile electronic devices directly infringe the ’674 patent.

  25          82.         Apple’s acts of infringement have occurred within this District and
  26 elsewhere throughout the United States.

  27

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   1          83.         Qualcomm has been damaged and will suffer additional damages and
   2 irreparable harm unless Apple is enjoined from further infringement. Qualcomm

   3 will prove its irreparable harm and damages at trial.

   4        COUNT 4 (PATENT INFRINGEMENT – U.S. PATENT NO. 7,693,002)
   5          84.         Qualcomm repeats and re-alleges the allegations of paragraphs 1
   6 through 83 above as if fully set forth herein.

   7          85.         Qualcomm is the lawful owner of the ’002 patent and has the full and
   8 exclusive right to bring actions and recover damages for Apple’s infringement of

   9 said patent.

  10          86.         In violation of 35 U.S.C. § 271, Apple has been and is still infringing,
  11 contributing to infringement, and/or inducing others to infringe the ’002 patent by

  12 making, using, offering for sale, selling, or importing devices that practice the

  13 patent, including but not limited to the Apple iPhone 7 and Apple iPhone 7 Plus.

  14          87.         The accused devices include memory units with a first logic and a
  15 second logic, where the first logic receives a clock signal and a first portion of a

  16 memory address of a memory array, decodes the first portion of the memory

  17 address, and selectively applies the clock signal to a selected group of wordline

  18 drivers associated with the memory array, and the second logic decodes a second
  19 portion of the memory address and selectively activates a particular wordline driver

  20 of the selected group of wordline drivers according to the second portion of the

  21 memory address.

  22          88.         The accused devices infringe at least claims 1, 2, 3, 4, 7, 8, 9, 11, 17,
  23 20, 21, 22, 23, 31, 32, 33, and 36 of the ’002 patent.

  24          89.         The accused devices infringe claims 1, 7, and 11 of the ’002 patent as
  25 follows. The Apple iPhone 7 and Apple iPhone 7 Plus each includes the Apple A10

  26 processor, which is a circuit device that includes at least one SRAM memory unit.

  27 The memory unit of the A10 processor includes first logic to receive a clock signal

  28 and a first portion of a memory address of a memory array. This first logic decodes
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                                   COMPLAINT FOR PATENT INFRINGEMENT
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   1 the first portion of the memory address and applies the clock signal to a selected

   2 clock output of eight potential outputs associated with a selected group of a plurality

   3 of wordline drivers that are associated with the memory array, based on the first

   4 portion of the memory address. The A10 SRAM memory unit also includes a

   5 second logic that decodes a second portion of the memory address and selectively

   6 activates a particular wordline driver of the selected group of wordline drivers

   7 according to the second portion of the memory address via one of its eight potential

   8 output lines. Thus, the accused devices infringe claims 1, 7, and 11 of the ’002

   9 patent.

  10          90.         With respect to claim 36, each of the wordline drivers in the memory
  11 unit of the accused devices is further associated with a corresponding wordline of

  12 the memory array. Specifically, in the accused devices, the wordline drivers have

  13 64 outputs corresponding to 64 wordlines in 8 sets, each set including 8 wordline

  14 drivers. Thus, the accused devices infringe claim 36 of the ’002 patent.

  15          91.         With respect to claim 8, the accused devices further receive the clock
  16 signal and selectively apply the clock signal to one of a plurality of clock outputs

  17 according to the first portion of the memory address. Thus, the accused devices

  18 infringe claim 8 of the ’002 patent.
  19          92.         With respect to claim 9, the accused devices further determine a clock
  20 output according to the first portion of the memory address. Specifically, the

  21 conditional clock generator of the accused devices determines a clock output

  22 according to the first portion of the memory address. Thus, the accused devices

  23 infringe claim 9 of the ’002 patent.

  24          93.         With respect to claims 2 and 21, the first logic of the accused devices
  25 further includes a conditional clock generator that receives the clock signal and

  26 selectively applies the clock signal to the selected clock output. Thus, the accused

  27 devices infringe claims 2 and 21 of the ’002 patent.

  28
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   1          94.         With respect to claim 32, the first logic of the accused devices includes
   2 a conditional clock generator that receives the clock signal and further selectively

   3 applies the clock signal to the selected clock output according to one of the first

   4 portion and the second portion of the memory address. Thus, the accused devices

   5 infringe claim 32 of the ’002 patent.

   6          95.         With respect to claims 3 and 22, the first logic of the accused devices
   7 includes a conditional clock generator that receives the clock signal and further

   8 selectively applies the clock signal to the selected clock output according to the first

   9 portion of the memory address. Thus, the accused devices infringe claims 3 and 22,

  10 of the ’002 patent.

  11          96.         With respect to claims 4 and 23, the first logic of the accused devices
  12 further includes a decoder that decodes at least two address bits to determine the

  13 first portion of the memory address. Specifically, the first logic of the accused

  14 devices includes a decoder that decodes three address bits to determine the first

  15 portion of the memory address. Thus, the accused devices infringe claims 4 and 23

  16 of the ’002 patent.

  17          97.         With respect to claim 31, the first logic of the accused devices includes
  18 a conditional clock generator that receives the clock signal and selectively applies
  19 the clock signal to the selected clock output, and the first logic generates multiple

  20 conditional clock outputs, wherein one of the multiple conditional clock outputs is

  21 an active conditional clock output, the first logic to apply the active conditional

  22 clock output as the selected clock output. Thus, the accused devices infringe claim

  23 31 of the ’002 patent.

  24          98.         With respect to claim 33, the first logic of the accused devices
  25 generates a plurality of conditional clock outputs, wherein one of the plurality of

  26 conditional clock outputs is active at a time, the first logic to apply the active

  27

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       NAI-1503225050v2                            27
                                   COMPLAINT FOR PATENT INFRINGEMENT
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   1 conditional clock output as the selected clock output. Thus, the accused devices

   2 infringe claim 33 of the ’002 patent.

   3          99.         With respect to claim 17, the memory unit in the A10 processor of each
   4 of the Apple iPhone 7 and Apple iPhone 7 Plus includes an address input that

   5 includes two portions, a plurality of clock outputs, and a group of wordline drivers

   6 coupled to a wordline of a memory array, each wordline driver of the group of

   7 wordline drivers coupled to the address input and coupled to a respective clock

   8 output of the plurality of clock outputs. Each of the accused devices further

   9 includes logic comprising first logic and second logic. The first logic receives a

  10 clock signal and a first portion of a memory address of a memory array. This first

  11 logic decodes the first portion of the memory address and applies the clock signal to

  12 a selected clock output of eight potential outputs. The second logic decodes a

  13 second portion of the memory address and selectively activates a particular wordline

  14 driver of the selected group of wordline drivers according to the second portion of

  15 the memory address via one of its eight potential output lines. Thus, the accused

  16 devices infringe claim 17 of the ’002 patent.

  17          100. With respect to claim 20, the logic of the accused devices further
  18 includes a conditional clock generator. Thus, the accused devices infringe claim 20
  19 of the ’002 patent.

  20          101. On information and belief, Apple is currently, and unless enjoined, will
  21 continue to, actively induce and encourage infringement of at least claims 7, 8, and

  22 9 of the ’002 patent. Apple has known of the ’002 patent at least since the time this

  23 complaint was filed and served on Apple. On information and belief, Apple

  24 nevertheless actively encourages others to infringe the ’002 patent. On information

  25 and belief, Apple knowingly induces infringement by others, including resellers,

  26 retailers, and end users of the accused devices. For example, Apple knows of the

  27 ’002 patent and the aspects of the accused devices that constitute infringement of

  28 such patent, yet Apple instructs and assists others, such as resellers, retailers, and
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                                  COMPLAINT FOR PATENT INFRINGEMENT
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   1 end users, in carrying out such infringement. Further, Apple possesses a specific

   2 intent to cause others, including resellers, retailers, and end users, to infringe the

   3 ’002 patent. For example, Apple affirmatively intended to cause others to directly

   4 infringe the ’002 patent through its instructions contained in its user manuals and

   5 marketing materials. These facts give rise to a reasonable inference that Apple

   6 knowingly induces others, including resellers, retailers, and end users, to directly

   7 infringe the ’002 patent, and that Apple possesses a specific intent to cause such

   8 infringement.

   9          102. Apple also contributes to infringement of the ’002 patent by selling for
  10 importation into the United States, importing into the United States, and/or selling

  11 within the United States after importation the accused devices and the non-staple

  12 constituent parts of those devices, which are not suitable for substantial non-

  13 infringing use and which embody a material part of the invention described in the

  14 ’002 patent. These mobile electronic devices are known by Apple to be especially

  15 made or especially adapted for use in the infringement of the ’002 patent. Apple

  16 also contributes to the infringement of the ’002 patent by selling for importation into

  17 the United States, importing into the United States, and/or selling within the United

  18 States after importation components, such as the chipsets or software containing the
  19 infringing functionality, of the accused devices, which are not suitable for

  20 substantial non-infringing use and which embody a material part of the invention

  21 described in the ’002 patent. These mobile devices are known by Apple to be

  22 especially made or especially adapted for use in the infringement of the ’002 patent.

  23 Specifically, on information and belief, Apple sells the accused devices to resellers,

  24 retailers, and end users with knowledge that the devices are used for infringement.

  25 End users of those mobile electronic devices directly infringe the ’002 patent.

  26          103. Apple’s acts of infringement have occurred within this District and
  27 elsewhere throughout the United States.

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   1          104. Qualcomm has been damaged and will suffer additional damages and
   2 irreparable harm unless Apple is enjoined from further infringement. Qualcomm

   3 will prove its irreparable harm and damages at trial.

   4        COUNT 5 (PATENT INFRINGEMENT – U.S. PATENT NO. 9,552,633)
   5          105. Qualcomm repeats and re-alleges the allegations of paragraphs 1
   6 through 104 above as if fully set forth herein.

   7          106. Qualcomm is the lawful owner of the ’633 patent and has the full and
   8 exclusive right to bring actions and recover damages for Apple’s infringement of

   9 said patent.

  10          107. In violation of 35 U.S.C. § 271, Apple has been and is still infringing,
  11 contributing to infringement, and/or inducing others to infringe the ’633 patent by

  12 making, using, offering for sale, selling, or importing mobile devices that practice

  13 the patent, including but not limited to the Apple iPhone 7 Plus, Apple iPhone 8

  14 Plus, and Apple iPhone X.

  15          108. The accused devices contain dual rear-facing cameras that are spatially
  16 offset and that take images of the same scene from different viewpoints. The

  17 accused devices store and retrieve the images from memory in order to determine a

  18 depth map based on the images. The accused devices identify a portion of one of
  19 the images selected by a user, determine a region for enhancement surrounding the

  20 selected portion, wherein the region is continuous from the selected portion and has

  21 a depth within a threshold of the depth of the selected portion, and apply some

  22 enhancement to that region. For instance, the iPhone 7 Plus, in its “Portrait” mode,

  23 uses the depth map to enhance a user-selected portion of a scene, such as a

  24 foreground object, including by blurring the background of the scene and enhancing

  25 regions at the edge of the foreground. The capability to simulate the “bokeh” effect,

  26 which emphasizes a foreground object and blurs the background and typically

  27 requires the use of a bulky high-end camera, is a highly touted feature of the iPhone

  28 7 Plus, the iPhone 8 Plus, and the iPhone X.
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   1              109. The accused devices infringe at least claims 1, 2, 3, 10, 11, 12, 18, 22,
   2 23, and 24 of the ’633 patent.

   3              110. The accused devices infringe claims 1, 10, and 18 of the ’633 patent at
   4 least as follows. The Apple iPhone 7 Plus is a mobile computing device equipped

   5 with two rear-facing cameras–a wide-angle camera and a telephoto camera located

   6 side by side–which capture a left image and a right image of the same scene from

   7 different viewpoints due to their relative offset with a small horizontal distance. The

   8 device includes an apparatus for enhancing images and a non-transitory computer

   9 readable medium comprising code that controls the image enhancement apparatus.

  10 The device is also equipped with a memory unit for storing images, including three

  11 gigabytes mobile LPDDR4 SDRAM memory. When using the Camera application

  12 in “Portrait” mode, the device’s image enhancement apparatus retrieves the left

  13 image and right image stored in a memory unit and determines a depth map based

  14 on a difference in spatial orientation between the two images using the Apple Image

  15 Signal Processor (ISP) and software. Using the device’s display, the user can view a

  16 live preview of the “depth effect” generated with the two images, point the device in

  17 different directions while observing a scene, and select a portion of the scene of a

  18 first depth. 5 The apparatus identifies the user selected portion of the scene and uses
  19 the depth map to determine an enhancement region surrounding the selected portion,

  20 wherein the region is continuous from the selected portion and has a depth within a

  21 threshold of the first depth, such as the edge region of a selected foreground object.

  22 Finally, the apparatus enhances the enhancement region, such as by applying a blur

  23 effect that blends the edge of a selected foreground object into a blurred

  24 background. The Apple iPhone 8 Plus and Apple iPhone X also include “Portrait”

  25 mode among their features and include an apparatus and/or non-transitory computer-

  26 readable medium that performs the same infringing image enhancement described

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   1 for the Apple iPhone 7 Plus. Thus, the accused devices infringe claims 1, 10, and 18

   2 of the ’633 patent.

   3              111. With respect to claims 2, 3, 11, and 12, the accused devices further alter
   4 the left or right image by degrading a portion of the image not selected by the user,

   5 for example by applying a blur effect to that portion of the image. Thus, the accused

   6 devices infringe claims 2, 3, 11, and 12 of the ’633 patent.

   7              112. With respect to claim 22, the Apple iPhone 7 Plus contains a memory
   8 unit configured to store the left and right images, including for example three

   9 gigabytes mobile LPDDR4 SDRAM memory, a coder configured to retrieve the

  10 images and determine a depth map based on a difference in spatial orientation

  11 between the images, and a processor coupled to the coder, including for example the

  12 ISP, which is configured to identify the user-selected portion of the scene, determine

  13 the enhancement region surrounding the user-selected portion, and enhance the

  14 enhancement region. When using the accused devices in “Portrait” mode, the coder

  15 retrieves the left image and right image stored in a memory unit and determines a

  16 depth map based on a difference in spatial orientation between the two images.

  17 Using the device’s display, the user can view a live preview of the “depth effect”

  18 generated with the two images, point the device in different directions while
  19 observing a scene, select a portion of the scene of a first depth, and capture the

  20 picture accordingly. 6 The processor coupled to the coder identifies the user-selected

  21 portion of the scene and uses the depth map to determine an enhancement region

  22 surrounding the selected portion of the left or right image, wherein the region is

  23 continuous from the selected portion and has a depth within a threshold of the first

  24 depth, such as the edge region of a selected foreground object. Finally, the

  25 processor enhances the enhancement region, such as by applying a blur effect that

  26 blends the edge of a selected foreground object into a blurred background. The

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   1 Apple iPhone 8 Plus and Apple iPhone X also include “Portrait” mode among their

   2 features and are devices that perform the same image enhancement described for the

   3 Apple iPhone 7 Plus. Thus, the accused devices infringe claim 22 of the ’633

   4 patent.

   5          113. With respect to claims 23 and 24, the processor of the accused devices
   6 is further configured to alter the left or right image by degrading a portion of the

   7 image not selected by the user, including by applying a blur effect to that portion of

   8 the image. Thus, the accused devices infringe claims 23 and 24 of the ’633 patent.

   9          114. On information and belief, Apple is currently, and unless enjoined, will
  10 continue to, actively induce and encourage infringement of at least claims 1, 2, and

  11 3 of the ’633 patent. Apple has known of the ’633 patent at least since the time this

  12 complaint was filed and served on Apple. On information and belief, Apple

  13 nevertheless actively encourages others to infringe the ’633 patent. On information

  14 and belief, Apple knowingly induces infringement by others, including resellers,

  15 retailers, and end users of the accused devices. For example, Apple knows of the

  16 ’633 patent and the aspects of the accused devices that constitute infringement of

  17 such patent, yet Apple instructs and assists others, such as resellers, retailers, and

  18 end users, in carrying out such infringement. Further, Apple possesses a specific
  19 intent to cause others, including resellers, retailers, and end users, to infringe the

  20 ’633 patent. For example, Apple affirmatively intended to cause others to directly

  21 infringe the ’633 patent through its instructions contained in its user manuals and

  22 marketing materials. These facts give rise to a reasonable inference that Apple

  23 knowingly induces others, including resellers, retailers, and end users, to directly

  24 infringe the ’633 patent, and that Apple possesses a specific intent to cause such

  25 infringement.

  26          115. Apple also contributes to infringement of the ’633 patent by selling for
  27 importation into the United States, importing into the United States, and/or selling

  28 within the United States after importation the accused devices and the non-staple
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   1 constituent parts of those devices, which are not suitable for substantial non-

   2 infringing use and which embody a material part of the invention described in the

   3 ’633 patent. These mobile electronic devices are known by Apple to be especially

   4 made or especially adapted for use in the infringement of the ’633 patent. Apple

   5 also contributes to the infringement of the ’633 patent by selling for importation into

   6 the United States, importing into the United States, and/or selling within the United

   7 States after importation components, such as the chipsets or software containing the

   8 infringing functionality, of the accused devices, which are not suitable for

   9 substantial non-infringing use and which embody a material part of the invention

  10 described in the ’633 patent. These mobile devices are known by Apple to be

  11 especially made or especially adapted for use in the infringement of the ’633 patent.

  12 Specifically, on information and belief, Apple sells the accused devices to resellers,

  13 retailers, and end users with knowledge that the devices are used for infringement.

  14 End users of those mobile electronic devices directly infringe the ’633 patent.

  15          116. Apple’s acts of infringement have occurred within this District and
  16 elsewhere throughout the United States.

  17          117. Qualcomm has been damaged and will suffer additional damages and
  18 irreparable harm unless Apple is enjoined from further infringement. Qualcomm
  19 will prove its irreparable harm and damages at trial.

  20                                       PRAYER FOR RELIEF
  21          WHEREFORE, Qualcomm respectfully requests that the Court enter
  22 judgment as follows:

  23          (a)         Declaring that Apple has infringed the Patents-in-Suit;
  24          (b)         Awarding damages in an amount to be proven at trial, but in no event
  25 less than a reasonable royalty for its infringement including pre-judgment and post-

  26 judgment interest at the maximum rate permitted by law;

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   1          (c)         Ordering a permanent injunction enjoining Apple, its officers, agents,
   2 servants, employees, attorneys, and all other persons in active concert or

   3 participation with Apple from infringing the Patents-in-Suit;

   4          (d)         Ordering an award of reasonable attorneys’ fees to Qualcomm as
   5 provided by 35 U.S.C. § 285;

   6          (e)         Awarding expenses, costs, and disbursements in this action, including
   7 prejudgment interest; and

   8          (f)         Awarding such other and further relief as the Court deems just and
   9 proper.

  10   Dated: November 29, 2017                By: s/ Randall E. Kay
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   1                             DEMAND FOR JURY TRIAL
   2          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Qualcomm
   3 demands a jury trial on all issues triable by jury.

   4   Dated: November 29, 2017          By: s/ Randall E. Kay
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